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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                         §
     Plaintiff/Respondent,                        §
                                                  §
V.                                                §               CR. No. C-03-258 (3)
                                                  §               C.A. No. C-05-473
JOSE ANGEL CHAMPION,                              §
      Defendant/Movant.                           §

              ORDER GRANTING APPLICATION FOR LEAVE TO PROCEED
                  IN FORMA PAUPERIS AND COLLECTION ORDER

       On May 6, 2006, the district court denied Jose Angel Champion’s (“Appellant”) motion

seeking relief under 28 U.S.C. § 2255. (D.E. 199).1 The order and final judgment were entered on

May 9, 2006. (D.E. 199, 200). Appellant timely appealed and also filed a motion for leave to appeal

in forma pauperis (“ifp”). (D.E. 205, 206). The Clerk received an amended motion to proceed ifp

from Appellant on July 12, 2006, in which he provided more detailed information concerning his

prison account and his income. (D.E. 210). Both motions are now pending and are addressed herein.

       Appellant’s ifp application reflects that he does not have any assets or valuable property, other

than his inmate account. As of April 1, 2006, he had a balance of $223.49 in his account.

Additionally, his application states that he earns $346.66 per month from prison employment, an

amount corroborated by the detailed list of transactions for his prison account. He also indicates that

he has received approximately $715 from family in the twelve months preceding his application,

although his prison account indicates that he received non-payroll deposits totaling $780 in the six

months preceding his application.




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           Docket entry references are to the criminal case, Cr. C-03-258.

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        The foregoing figures demonstrate that although Appellant cannot afford to prepay the $455

appellate filing fee, he can pay the fee in installments without undue hardship. While his appeal is not

governed by the Prison Litigation Reform Act, there is no prohibition against collection of the

appellate filing fee in installments where an inmate has the ability to pay in installments without undue

hardship. Accordingly, Appellant’s motions to be proceed in forma pauperis (D.E. 206, 210) are

GRANTED and the following orders are entered:

        1.      The Clerk shall file the Appellant’s notice of appeal without prepayment of the

appellate filing fee.

        2.      The Appellant is not required to pay an initial partial appellate filing fee.

        3.      The Appellant shall pay $455, the full appellate filing fee, in monthly installments to

the United States District Court.

        4.      The Bureau of Prisons shall deduct 20% of each deposit made to the Appellant’s

inmate trust account and forward payments to the United States District Court on a regular basis

provided the account exceeds $10.00.

        5.      The Appellant shall execute all consents and other documents required by the agency

having custody of the Appellant to authorize the necessary withdrawals from his trust account.

        6.      The Clerk shall send a copy of this Order to the Inmate Accounting Officer and

Paralegal Specialist, FCI Bastrop, P.O. Box 730, Bastrop, TX 78602.




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                                 NOTICE TO THE APPELLANT:

       If you do not wish to pay the appellate filing fee as set forth in this Order, you must notify the

Court in writing, by letter or motion, that you do not wish to prosecute the appeal. Your notice must

be mailed within 30 days of the date of this Order.


       ORDERED this 20th day of July, 2006.



                                               ____________________________________
                                                B. JANICE ELLINGTON
                                               UNITED STATES MAGISTRATE JUDGE




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